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                       UNITED STATES ISTRICT COURT
                         DISTRICT OF PUERTO RICO


EMI EQUITY MORTGAGE, INC.,

     Appellant,

                  v.                       Civil No. 17-2283 (FAB)

WILFREDO VALDÉS-MORALES,

     Appellee.


                            OPINION AND ORDER

BESOSA, District Judge.

     Appellant EMI Equity Mortgage, Inc. (“EMI Equity”) appeals

the United States Bankruptcy Court for the District of Puerto Rico

(“bankruptcy court”)’s order granting appellee Wilfredo Valdés-

Morales   (“Valdés”)’s    motion   for   summary   judgment   pursuant   to

Federal Rule of Civil Procedure 56 (“Rule 56”).          (Docket No. 8.)

For the reasons set forth below, EMI Equity’s appeal is DISMISSED

WITHOUT PREJUDICE, and this case is REMANDED for proceedings

consistent with this Opinion and Order.

I.   Background

     This appeal concerns the nature of EMI Equity’s interest in

a property belonging to Valdés’ bankruptcy estate.            According to

Valdés, in 2009 he signed a mortgage note for $117,082.00 “in favor

of (then) lender AAA Concordia Mortgage Corporation.”              (Docket
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No. 55 at p. 3.) 1      Two years later, Valdés filed a bankruptcy

petition pursuant to Chapter 13 of the Bankruptcy Code.              11 U.S.C.

§ 1301 et seq.      (Docket No. 1 at p. 3.)         Valdés named EMI Equity

as his mortgage lender.        Id. 2   Subsequently, EMI Equity submitted

a secured claim against Valdés for $111,678.93.             Id.     For fifty-

three months, Valdés paid $719.02 to EMI Equity “in the guise of

mortgage installments.”        Id. at p. 4.   In sum, EMI Equity collected

$38,108.06 in post-petition payments from Valdés.            Id.

     Valdés      accumulated    three    post-petition     arrears    on    the

mortgage note, prompting EMI Equity to seek dismissal of the

Chapter 13 proceeding.      Id. at p. 3.      In the course of discovery,

Valdés learned that “the presentation of [EMI Equity’s] mortgage

note was not notified and that the same had expired, whereby [EMI

Equity’s] debenture should be treated as a general unsecured

claim.”    Id.   Valdés commenced an adversary proceeding against EMI

Equity, requesting that the bankruptcy court:             (1) invalidate EMI

Equity’s   interest    in   Valdés’     property,   (2)   declare    that   EMI

Equity’s interests are “completely unsecured,” (3) award Valdés

$100,000.00 in damages for emotional pain and suffering, (4) award



1 Citations to pleadings filed in the bankruptcy court refer to Case No. 11-
4694.

2 The record transmitted from the bankruptcy court contains no evidence that
AAA Concordia Corporation assigned the mortgage note to EMI Equity. Indeed,
the promissory note pertaining to the property is absent from the record.
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Valdés $20,000.00 for legal costs and fees, (5) award Valdés

$100,000.00 in punitive damages, and (6) grant Valdés “any other

remedy which is just and equitable.”          Id. at pp. 4—5.

      Valdés moved for summary judgment, requesting that EMI Equity

return the $38,108.06 in past mortgage payments in addition to the

remedies requested in the complaint.           (Docket No. 55 at pp. 12—

13.) 3 Valdés argued that because EMI Equity possessed an unsecured

interest in the mortgaged property, “EMI’s acceptance of direct

post-petition payments from [Valdés] constitutes a violation of

the automatic stay of section 362.”          Id. at p. 8.     The bankruptcy

court granted summary judgment, holding that:

      Plaintiff’s deed of sale and Defendant’s mortgage was
      never recorded. As such, amended claim number 8-3 filed
      by Defendant in the related legal case 11-04694, is
      unsecured and the court declares Defendant’s lien over
      the Debtor’s residence is null and void. Defendant shall
      further deliver the mortgage note subscribed by
      Plaintiff to him forthwith.

(Docket No. 77 at p. 3.) 4           The bankruptcy court also set an

evidentiary hearing to “consider the monetary damages requested by

Plaintiff     for   Defendant’s   willful    violation   of   the   automatic

stay.”      Id. at p. 4.        Before the bankruptcy court held the

evidentiary hearing, however, EMI Equity filed a notice of appeal.


3Because EMI Equity filed an untimely response, the bankruptcy court considered
Valdés’ motion for summary judgment unopposed. (Docket No. 68.)

4
 A lien is a “charge against or interest in property to secure payment of a
debt or performance of an obligation.” 11 U.S.C. § 101(37).
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(Docket No. 83.)     EMI Equity contends that the bankruptcy court’s

holding is erroneous because “there is no showing of willfulness,

an essential element of [an automatic stay violation].”               (Docket

No. 8 at p. 24.)       The Court reserves judgment regarding EMI’s

purported violation of the automatic stay because the bankruptcy

court granted summary judgment on an incomplete record and issued

an ambiguous order.

II.   Jurisdiction

      This Court has jurisdiction over EMI Equity’s appeal pursuant

to 28 U.S.C. § 158(a).      On appeal, this Court may affirm, modify,

or    reverse   a   bankruptcy   court’s    judgment,       or   remand   with

instructions for further proceedings.           Fed. R. Bankr. P. 8013;

see, e.g., HSBC Bank USA v. Bank of N.Y. Mellon Tr. Co., 646 F.3d

90, 94 (1st Cir. 2011) (“Finding the phrase ambiguous, we remanded

to the bankruptcy court to conduct a ‘contextual examination of

the parties’ intent, taking full account of the surrounding facts

and circumstances’.”)     (citation omitted).

III. Discussion

      The Court remands this appeal for two reasons.              First, the

factual basis underlying the bankruptcy court’s disposition is

incomplete.     Second, the summary judgment order is ambiguous.

Further   analysis   pursuant    to   Puerto   Rico   law   is   required   to

determine whether EMI Equity possesses a secured interest in the
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mortgaged property, and whether EMI Equity violated the automatic

stay pursuant to 11 U.S.C. § 362 (“section 362”).

     A.    Summary Judgment is Inappropriate Because Valdés Failed
           to Submit a Statement of Uncontested Material Facts

           Valdés moved for summary judgment without submitting a

statement of uncontested material facts. (Docket No. 55.) Federal

Rule of Bankruptcy Procedure 7056 states that Federal Rule of Civil

Procedure 56 (“Rule 56”) “applies in adversary proceedings.”           Fed.

R. Bankr. P. 7056.     Pursuant to Rule 56, the “Court shall grant

summary judgment if the movant shows that there is no genuine issue

of material fact and the movant is entitled to judgment as a matter

of law.”   Fed. R. Civ. P. 56(a).    Local Rule 56 governs the factual

assertions made by both parties in the context of summary judgment.

Loc. R. 56; Hernández v. Philip Morris USA, Inc., 486 F.3d 1, 7

(1st Cir. 2007).    This Court need not “ferret through the record

to discern whether any material fact is genuinely in dispute.”

CMI Capital Market Inv. v. González-Toro, 520 F.3d 58, 62 (1st

Cir. 2008).     The movant must submit factual assertions in “a

separate, short, and concise statement of material facts, set forth

in numbered paragraphs.”     Loc. R. 56(b).

           Courts “disregard any statement of fact not supported by

a specific citation to record material properly considered on

summary judgment.”     Loc. Rule 56(e).       Facts that are properly
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supported “shall be deemed admitted unless properly controverted,”

Loc. R. 56(e); P.R. Am. Ins. Co. v. Rivera-Vázquez, 603 F.3d 125,

130 (1st Cir. 2010).           The First Circuit Court of Appeals has

repeatedly “emphasized the importance of local rules similar to

Local Rule 56 [of the District of Puerto Rico],” which “are

designed to function as a means of ‘focusing a district court’s

attention on what is—and what is not—genuinely controverted’.”

Hernández, 486 F.3d at 7 (internal citation omitted).

            In his motion for summary judgment, Valdés relies on

facts set forth in “the record of debtor’s chapter 13 case no. 11-

04694B and/or are admitted by [EMI Equity] in its answer to the

Complaint    and/or   its      response   to    plaintiff’s      request   for

discovery.” (Docket No. 55 at pp. 2—3.) Valdés’ cursory reference

to facts asserted throughout the record is insufficient pursuant

to Local Rule 56 and inhibits this Court from adjudicating EMI

Equity’s appeal.      See RG Primer Bank v. Alvarado, 463 B.R. 200,

212 (D.P.R. 2011) (Domínguez, J.) (remanding bankruptcy appeal

because   “the   record   is    incomplete     and   restricts   the   Court’s

appellate review of the appealed order”).              As the proponent of

summary judgment, Valdés must present a statement of uncontested

material facts with citations to supporting exhibits.             Loc. R. 56;

see Mercado-Reyes v. City of Angels, 295 F. Supp. 3d 74, 77 (D.P.R.

2018) (Besosa, J.) (denying summary judgment motion because “both
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parties fail[ed] to follow Local Rule 56” regarding the requisite

statement of uncontested material facts).               Accordingly, Valdés

must attach a statement of uncontested material facts before the

bankruptcy court may address the merits of his summary judgment

motion.

      B.    The Summary Judgment Opinion and Order is Ambiguous

            EMI Equity challenges the bankruptcy court’s conclusion

that it violated the automatic stay.              (Docket No. 8.) 5        This

conclusion cannot stand, however, without first establishing that

the automatic stay is indeed applicable.           Because Valdés filed a

bankruptcy petition, the automatic stay is applicable subject to

enumerated exceptions in section 362.           See Montalvo v. Autoridad

de Acueductos y Alcantarillados, 537 B.R. 128, 140 (Bankr. D.P.R.

2015) (Lamoutte, J.) (holding that the automatic stay becomes

operative   upon   the   filing   of   a   bankruptcy    petition,   and   “is

extremely broad in scope,” applying “to almost any type of formal

or informal action taken against the debtor”) (citation omitted).

Section 362 stays the “the commencement or continuation . . . of

a judicial, administrative, or other action against the debtor

that was or could have been commenced before” the bankruptcy



5 Pursuant to section 362(k), “an individual injured by any willful violation
of a stay provided by this section shall recover actual damages including costs
and attorneys’ fees and, in appropriate circumstances, may recover punitive
damages.” 11 U.S.C. § 362(k).
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petition.    11 U.S.C. § 362(a).        The “automatic stay provision is

one of the fundamental debtor protections in the Bankruptcy Code.

It gives the debtor a ‘breathing spell’ from creditors and stops

all   collection    efforts,     all   harassment,     and   all   foreclosure

actions.”    González v. P.R. Treasury Dep’t, 532 B.R. 1, 5 (Bankr.

D.P.R. 2015) (Lamoutte, J.) (citation omitted).              Exceptions to the

automatic stay, however, permit the continuation of litigation

despite the filing of a bankruptcy petition.

            1.     “Acts to Perfect” Pursuant to Section 362(b)(3)

                   The dispositive inquiry for purposes of Valdés’

summary judgment is whether EMI Equity’s unrecorded mortgage deed

constitutes an interest in property within the meaning of section

362(b)(3).       Section 362(b)(3) sets forth an exception to the

automatic stay pertaining to “any act to perfect.” 11 U.S.C.

§ 362(b)(3). 6      EMI Equity must       satisfy three requirements to

qualify for the section 362(b)(3) exception:              “there must be (1)

an ‘act to perfect’ (2) an ‘interest in property’ (3) under



6
  Following a Chapter 13 petition, the United States assigns the debtor a trustee
to perform several duties, such as “advis[ing], other than on legal matters,
and assit[ing] the debtor in performance under the plan.” 11 U.S.C. § 1302.
The Bankruptcy Code instills in trustees “avoidance powers,” allowing trustees
“to recover property for the estate, set aside certain liens, avoid certain
transfers, and reject or assume executory contracts and unexpired leases.”
Carrión v. USDA Rural Hous. Serv., No. 10-10792, 2012 Bankr. LEXIS 2720, *16
(Bankr. D.P.R. Jun. 13, 2012) (Lamoutte, J.) (citation omitted).         Trustees
possess “the powers of a bona fide purchaser of real property for value,” and
may “invalidate unperfected security interests.” DeGiancomo v. Traverse, 753
F.3d 19, 26 (1st Cir. 2014) (citing 11 U.S.C. § 544).
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circumstances in which the perfection-authorizing statute fits

within the contours of section 546(b)(1)(A).”          229 Main St. Ltd.

v. Mass. EPA, 262 F.3d 1, 4 (1st Cir. 2001).           Section 546(b) of

the Bankruptcy Code provides that the:

     rights and powers of the trustee are subject to any
     generally applicable law that—

     (A) permits perfection of an interest in property to be
     effective against an entity that acquires rights in such
     property before the date of perfection; or

     (B) provides for the maintenance or continuation of
     perfection of an interest in property to be effective
     against an entity that acquires rights in such property
     before the date on which action is taken to effect such
     maintenance or continuation.

11 U.S.C. § 546(b)(1)(A).    Congress intended to “protect, in spite

of the surprise intervention of a bankruptcy petition, those whom

State law protects by allowing them to perfect their liens as of

an effective date that is earlier than the date of perfection.”

Tosado v. Banco Popular de P.R., 420 B.R. 57, 68 (Bankr. D.P.R.

2009) (Lamoutte, J.) (citation omitted).

                The   relevant   property   interest   “must   arise   and

exist pre-petition” to qualify for the automatic stay exception

set forth in section 362(b)(3).        Hernández v. Banco Popular de

P.R. Popular Mortg., Inc., No. 15-2109, 2016 Bankr. LEXIS 873,

at *7 (Bankr. D.P.R. Mar. 18, 2016) (Tester, J.).              A property

interest is subject to the automatic stay pursuant to “generally
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applicable law.”         11 U.S.C. § 546(b)(1)(A).      Accordingly, Puerto

Rico law governs the Court’s analysis.           See Hernández, 2016 Bankr.

LEXIS 873, at *13 (applying Puerto Rico law in analyzing “whether

a filed but unrecorded mortgage deed can be treated as a secured

claim in a bankruptcy proceeding”).

                 A creditor in possession of a perfected interest in

property, or an interest capable of perfection, may circumvent the

automatic   stay.         Puerto   Rico    law   establishes       that   “it   is

indispensable,      in    order    that   [a]    mortgage    may    be    validly

constituted, that the instrument in which it is created be entered

in the registry of property.”             P.R. Laws Ann. tit. 31, § 5042.

Pursuant to Puerto Rico law, an unrecorded mortgage is a “nullity.”

Carrión, 2012 Bankr. LEXIS 2720, at *8 (quoting In re Las Colinas,

Inc., 426 F.2d 1005, 1016 (1st Cir. 1970)).                 The First Circuit

Court of Appeals, however, has held that “the term ‘interest in

property’ as used in section 362(b) is broader than the term

‘lien’.”    229 Main St. Ltd., 262 F.3d at 6 (holding that that

“statutory lien that the Commonwealth wishes to record meets the

combined requirements of section 362(b)(3) and 546(b)(1)(A) and

therefore falls within the exception to the automatic stay”); see

Ramos v. Banco Popular de P.R., 493 B.R. 355, 364 (Bankr. D.P.R.

2013) (Cabán, J.) (holding that “a party may have an interest in

the property that is not necessarily tantamount to a lien” pursuant
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to section 362(b)(3)).        An unrecorded mortgage deed arising from

a prepetition transfer may constitute an “interest in property”

pursuant to section 362(b)(3).         See Hernández, 2016 Bankr. LEXIS

873, at *18 (applying the section 362(b)(3) exception and rejecting

plaintiff’s contention that “due to the lack of recordation of the

Deeds,     Defendant   does   not   hold   a   perfected    lien   against   its

Property”).

                  The First Circuit Court of Appeals decision in

Soto-Ríos v. Banco Popular de P.R. is illustrative.                662 F.3d 112

(1st Cir. 2011).       The debtors in Soto-Ríos executed mortgage deeds

in favor of Banco Popular de Puerto Rico (“Banco Popular”).                  Id.

at 114.     Subsequently, Banco Popular presented the mortgage deeds

to the Puerto Rico Property Registrar (“registrar”).               Id.   Because

of   “an    administrative    backlog,     however,   the    three    presented

mortgage deeds were still pending to be recorded when the debtors
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filed for bankruptcy nearly three years later.”            Id. 7   The debtors

requested application of the automatic stay, arguing that Banco

Popular possessed “no more than unsecured personal obligations.”

Id. at 118.        The First Circuit Court of Appeals rejected the

debtors’     arguments,     citing     the    “relation     back     provision

establishing the moment of presentation as the priority marker.”

Id. at 121 (citing P.R. Laws Ann. tit. 30, § 2256; Gasolinas de

P.R. v. Keeler-Vázquez, 155 D.P.R. 652, 675 (2001) (“Presentment’s

purpose is to acknowledge, in a precise manner, the exact point or

time of such filing, inasmuch as same guarantees the filing party

his turn, according to order of arrival”) (internal punctuation

omitted)).     Because Banco Popular presented the mortgage deeds to

the registrar before the debtors filed their bankruptcy petition,

Banco    Popular   possessed    a    pre-petition    interest      pursuant   to



7 In Puerto Rico, “the process of inscription begins when the mortgage deed is
presented and recorded in the daily book of presentations kept by the
Registrar.” Tosado, 420 B.R. at 70. Puerto Rico law mandates that mortgage
deeds “shall be registered within sixty (60) days following their presentation,
or after correcting any errors that may have been indicated, or after filing
the requalification writ, except for just cause that is duly justified and
admitted by the Director.” P.R. Laws Ann. tit. 30, § 2255. Delays attributed
to “just cause” are the norm, however, resulting in a “three to five year[]
elapse between the date of presentation and the date the Property Registrar
qualifies the pertinent documentation.” Tosado, 420 B.R. at 70. Indeed, in
2010 the Puerto Rico legislature promulgated the “Act to Streamline the Property
Registry,” proclaiming that “[a]ny document presented in the Property Registry
by April 30, 2010, shall be deemed to be recorded” subject to nine exceptions
i.e. documents concerning eminent domain. Laws P.R. Ann. tit. 30, § 1821. EMI
Equity acquired the mortgage note from Valdés in 2009. (Docket No. 55 at p. 3.)
The bankruptcy court does not address whether the Act to Streamline the Property
Registry is applicable in this matter. (Docket No. 77.)
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section     362(b)(3).     Id.    at   123.   Accordingly,     Banco   Popular

circumvented the automatic stay.          Id. 8

                    The summary judgment order granting Valdés’ Rule 56

motion is ambiguous.       The bankruptcy court held that “Plaintiff’s

deed   of    sale   and   Defendant’s     mortgage   was    never   recorded.”

(Docket No. 77 at p. 3.)         The pertinent date, however, is the date

of presentment, not the date of recordation.               See Soto-Ríos, 662

F.3d at 122 (emphasizing that “[p]resentment, as the decisive act

for securing rank, provided notice to the public, including any

bona fide purchaser, of the parties’ mortgage transaction and the

acts to preserve priority”).             Moreover, the bankruptcy court

concluded that EMI Equity possesses an unsecured property interest

without addressing the $38,108.06 in post-petition payments.              Id.

This Court cannot evaluate the propriety of summary judgment

without a more thorough analysis of EMI Equity’s property interest

pursuant to the Bankruptcy Code and Puerto Rico law.

IV.    Conclusion

       For the reasons set forth above, the bankruptcy court’s

decision granting summary judgment is REMANDED for proceedings



8 In Ramos, the mortgagee faxed the deed to the registrar but failed to
“physically deliver the documents” in contravention of Puerto Rico mortgage
law. 493 B.R. at 366 (citing P.R. Laws Ann. tit. 30, § 2154). Consequently,
the mortgagee held an unsecured property interest. Id. The bankruptcy court
held that the section 362(b)(3) exception to the automatic stay was
inapplicable. Id. at 368.
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consistent with this Opinion and Order.         EMI Equity’s appeal is

DISMISSED WITHOUT PREJUDICE.     (Docket No. 8.)

     IT IS SO ORDERED.

     San Juan, Puerto Rico, July 13, 2018.


                                       s/ Francisco A. Besosa
                                       FRANCISCO A. BESOSA
                                       UNITED STATES DISTRICT JUDGE
